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UNITED STATES DISTRICT C()URT
DISTRICT OF MASSACHUSETTS

LEE HUTCHINS, sR. ,-¢
Plain*iff» s No. 16_cv-30003-NMG

v. :

DANIEL J. MCKAY, FELIX M. :

RoMERo, THoMAs HERVIEUX, and 72

THE CITY or sPRINGFIELI) k

Defendants :

AFFIDAVIT OF SAMANTHA J. LEBOEUF
I, Sarnantha LeBoeuf, hereby state under pains and penalties of perjury that:

l. l served as associate counsel for the Plaintiff in the above titled case, under the
supervision and direction of lead counsel David Hoose and Luke Ryan.

2. l Was admitted to the bar in November of 2017 and am currently an associate at the law firm
of Sasson, Turnbuli, Ryan & Hoose at 100 Main Street, Northarnpton, Massachusetts.

3. l have been in private practice for approximately one year during which l have mainly
concentrated in the area of criminal defense and civil rights Prior to joining Sasson,
Turnbull, Ryan & Hoose as an associate, l worked for two years as a law student/paralegal
at the same firm.

4. I am a graduate of the University of Massachusetts, magna cum laude, and Western New
England University School of Law where l graduated magna cum laurie and Was a public

interest scholar and Syrnposiurn Editor of the Law Review.

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5. Attached to this affidavit is a true and accurate statement of my hours spent representing the
Plaintiff in this case. lt is my information and belief, that based on the complexity of the
issues and the results achieved in the case, that the amount of time spent by me Was
reasonable and necessary.

6. l am requesting that the Court grant this petition for fees in the amounts stated. l feel that
l arn entitled to be compensated at the rate of $175.00 per hour. l base this upon a
number of factors, including:

a. the complexity of the issues and the results achieved in the case;

b. the highly contingent nature of the litigation;

c. my supervisors’ consultation with other civil rights litigators regarding the hourly
fees they normally charge for associates in similar types of litigation;

d. the rates that i bill for rny criminal cases;

e. awards to other attorneys in similar eases.

SIGNED UNDER PAlNS AND PENALTIES OF PERJURY THIS STH DAY OF FEBRUARY,
2019. -

 

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